Case 2:14-cv-02057-SMM   Document 224-10   Filed 10/19/17   Page 1 of 113
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            Generated on: This page was generated by TSDR on 2015-06-16 16:41:46 EDT
                     Mark: OLD NO. 7




        US Serial Number: 70042663                                                     Application Filing Date: Apr. 22, 1904
 US Registration Number: 42663                                                               Registration Date: May 24, 1904
                  Register: Principal
                Mark Type: Trademark
                    Status: The registration has been renewed.
              Status Date: Jun. 11, 2014



                                                                 Mark Information
    Mark Literal Elements: OLD NO. 7
Standard Character Claim: No
      Mark Drawing Type: 5 - AN ILLUSTRATION DRAWING WITH WORD(S) /LETTER(S)/ NUMBER(S) INSTYLIZED FORM

                                                    Related Properties Information
        Publish Previously Yes
         Registered Mark:
    Previously Registered May 18, 1948
    Mark Publication Date:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                       For: WHISKIES
   International Class(es): 033                                                                  U.S Class(es): 049 - Primary Class
             Class Status: ACTIVE
                     Basis: 1(a)
                 First Use: Jan. 1875                                                       Use in Commerce: Jan. 1875

                                                     Basis Information (Case Level)
             Filed Use: Yes                                   Currently Use: Yes                                     Amended Use: No
             Filed ITU: No                                     Currently ITU: No                                      Amended ITU: No
             Filed 44D: No                                    Currently 44D: No                                      Amended 44D: No
             Filed 44E: No                                    Currently 44E: No                                      Amended 44E: No
             Filed 66A: No                                    Currently 66A: No
        Filed No Basis: No                              Currently No Basis: No

                                                     Current Owner(s) Information
             Owner Name: JACK DANIEL'S PROPERTIES, INC.
          Owner Address: 4040 CIVIC CENTER DRIVE
                         SUITE 528
                         SAN RAFAEL, CALIFORNIA 94903
                         UNITED STATES
        Legal Entity Type: CORPORATION                                                 State or Country Where DELAWARE
                                                                                                   Organized:

                                             Attorney/Correspondence Information
                                                                          Attorney of Record



                                                                                                                                               JDPI002363
         Case 2:14-cv-02057-SMM                     Document 224-10                    Filed 10/19/17             Page 3 of 113


          Attorney Name: David S. Gooder                                        Docket Number: 594
  Attorney Primary Email jdpilegal@jdpi.com                                       Attorney Email Yes
               Address:                                                              Authorized:
                                                               Correspondent
          Correspondent David S. Gooder
          Name/Address: JACK DANIEL'S PROPERTIES INC
                        4040 CIVIC CTR DR STE 528
                        SAN RAFAEL, CALIFORNIA 94903
                        UNITED STATES
                   Phone: 415 446 5225                                                      Fax: 415 446 5230
   Correspondent e-mail: jdpilegal@jdpi.com                              Correspondent e-mail Yes
                                                                                 Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
                                                                                                                             Proceeding
  Date                     Description
                                                                                                                             Number

Jun. 11, 2014           NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Jun. 11, 2014           REGISTERED AND RENEWED (SIXTH RENEWAL - 10 YRS)                                                    75461
Jun. 11, 2014           REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                                75461
Jun. 10, 2014           CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                       75461
May 21, 2014            TEAS SECTION 8 & 9 RECEIVED
Oct. 02, 2008           CASE FILE IN TICRS
Jul. 06, 2004           REGISTERED AND RENEWED (FIFTH RENEWAL - 10 YRS)
Jul. 06, 2004           REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
May 03, 2004            REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
May 03, 2004            TEAS SECTION 8 & 9 RECEIVED
Jul. 16, 2002           TEAS CHANGE OF CORRESPONDENCE RECEIVED
May 15, 1995            REGISTERED AND RENEWED (FOURTH RENEWAL - 10 YRS)
Mar. 03, 1995           AMENDMENT UNDER SECTION 7 - ISSUED
Aug. 19, 1994           SEC 7 REQUEST FILED
Aug. 16, 1994           REGISTERED - SEC. 9 FILED/CHECK RECORD FOR SEC. 8
May 24, 1974            REGISTERED AND RENEWED (THIRD RENEWAL - 20 YRS)
                            Maintenance Filings or Post Registration Information
   Affidavit of Continued Section 8 - Accepted
                     Use:
               Affidavit of Section 15 - Accepted
          Incontestability:
           Renewal Date: May 24, 2014
  Change in Registration: Yes
        Amendment to a THE DRAWING IS AMENDED TO APPEAR AS FOLLOWS: PUBLISH NEW CUT
    Registration/Renewal
              Certificate:

                                             TM Staff and Location Information
                                                         TM Staff Information - None
                                                                File Location
         Current Location: GENERIC WEB UPDATE                                   Date in Location: Jun. 11, 2014

                                       Assignment Abstract Of Title Information
  Summary
     Total Assignments: 7                                                            Registrant: DANIEL, JACK
                                                    Assignment 1 of 7
             Conveyance: ASSIGNS THE ENTIRE INTEREST, TOGETHER WITH THE GOOD WILL OF THE BUSINESS IN WHICH SAID MARK IS USED.
              Reel/Frame: 0021/0535                                                       Pages: 0




                                                                                                                            JDPI002364
       Case 2:14-cv-02057-SMM                         Document 224-10                Filed 10/19/17             Page 4 of 113

        Date Recorded: Sep. 27, 1956
Supporting Documents: No Supporting Documents Available
                                                                   Assignor
                Name: DANIEL, JACK, DISTILLERY, LEM MOTLOW,                     Execution Date: Sep. 17, 1956
                      PROP., INC., CHARTERED IN 1939.
      Legal Entity Type: CORPORATION                                    State or Country Where TENNESSEE
                                                                                    Organized:
                                                                   Assignee
                Name: DANIEL, JACK, DISTILLERY, LEM MOTLOW, PROP., INC., CHARTERED IN 1956.
      Legal Entity Type: CORPORATION                                    State or Country Where TENNESSEE
                                                                                    Organized:
              Address: LYNCHBURG, TENNESSEE
                                                                Correspondent
  Correspondent Name:
Correspondent Address: No Correspondent Address Found
                                                      Domestic Representative - Not Found
                                                            Assignment 2 of 7
          Conveyance: ASSIGNS THE ENTIRE INTEREST AND THE GOODWILL
           Reel/Frame: 0440/0764                                                        Pages: 2
        Date Recorded: May 17, 1983
Supporting Documents: No Supporting Documents Available
                                                                   Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                       Execution Date: May 02, 1983
                      PROP., INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
                                                                   Assignee
                Name: BLUE GRASS COOPERAGE COMPANY, INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
              Address: 850 DIXIE HIGHWAY
                       LOUISVILLE, KENTUCKY 40210
                                                                Correspondent
  Correspondent Name: BEVERIDGE, DE GRANDI, ET AL.
Correspondent Address: 1819 H ST., N.W.
                       WASHINGTON, DC 20006
                                                      Domestic Representative - Not Found
                                                            Assignment 3 of 7
          Conveyance: CHANGE OF NAME 19830502
           Reel/Frame: 0447/0579                                                        Pages: 4
        Date Recorded: Aug. 10, 1983
Supporting Documents: No Supporting Documents Available
                                                                   Assignor
                Name: BLUE GRASS COOPERAGE COMPANY, INC.                        Execution Date: Jun. 10, 1983
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
                                                                   Assignee
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW PROP. INC.
      Legal Entity Type: UNKNOWN                                        State or Country Where No Place Where Organized Found
                                                                                    Organized:
              Address: No Assignee Address Found
                                                                Correspondent
  Correspondent Name: BEVERIDGE, DEGRANDI, ET AL.
Correspondent Address: SUITE 1100, 1819 H ST., N.W.
                       WASHINGTON, DC 20006
                                                      Domestic Representative - Not Found
                                                            Assignment 4 of 7
          Conveyance: CHANGE OF NAME
           Reel/Frame: 1763/0446                                                        Pages: 5




                                                                                                                                JDPI002365
      Case 2:14-cv-02057-SMM                        Document 224-10                Filed 10/19/17             Page 5 of 113

        Date Recorded: Aug. 06, 1998
Supporting Documents: assignment-tm-1763-0446.pdf
                                                                 Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                     Execution Date: Apr. 10, 1998
                      PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.
                       4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 5 of 7
          Conveyance: RECORD TO CORRECT STATE OF INCORPORATION OF RECEIVING PARTY ON A CHANGE OF NAME DOCUMENT
                      PREVIOUSLY RECORDED AT 1763/0446.
           Reel/Frame: 3124/0940                                                      Pages: 8
        Date Recorded: Jul. 20, 2005
Supporting Documents: assignment-tm-3124-0940.pdf
                                                                 Assignor
                Name: JACK DANIEL DISTILLERY, LEM MOTLOW,                     Execution Date: Apr. 10, 1998
                      PROP., INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
                                                                 Assignee
                Name: JDDLMP, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
              Address: HIGHWAY 55
                       LYNCHBURG, TENNESSEE 37352
                                                              Correspondent
  Correspondent Name: DAVID S. GOODER
Correspondent Address: 4040 CIVIC CENTER DRIVE
                       SUITE 528
                       SAN RAFAEL, CA 94903
                                                    Domestic Representative - Not Found
                                                          Assignment 6 of 7
          Conveyance: MERGER
           Reel/Frame: 1764/0836                                                      Pages: 4
        Date Recorded: Aug. 06, 1998
Supporting Documents: assignment-tm-1764-0836.pdf
                                                                 Assignor
                Name: JDDLMP, INC.                                            Execution Date: Apr. 20, 1998
     Legal Entity Type: CORPORATION                                   State or Country Where KENTUCKY
                                                                                  Organized:
DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                        MOTLOW, PROP., INC.
                                                                 Assignee
                Name: JACK DANIEL'S PROPERTIES, INC.
     Legal Entity Type: CORPORATION                                   State or Country Where DELAWARE
                                                                                  Organized:
              Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                       SAN RAFAEL, CALIFORNIA 94903
                                                              Correspondent
  Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
Correspondent Address: DAVID S. GOODER, ESQ.



                                                                                                                        JDPI002366
         Case 2:14-cv-02057-SMM                            Document 224-10                Filed 10/19/17             Page 6 of 113

                            4040 CIVIC CENTER DRIVE, SUITE 528
                            SAN RAFAEL, CA 94903
                                                           Domestic Representative - Not Found
                                                                 Assignment 7 of 7
              Conveyance: DUPLICATE RECORDING, SEE RECORDING AT REEL 1764, FRAME 0836.
               Reel/Frame: 1766/0385                                                         Pages: 4
            Date Recorded: Aug. 05, 1998
  Supporting Documents: assignment-tm-1766-0385.pdf
                                                                        Assignor
                    Name: JDDLMP, INC.                                               Execution Date: Apr. 20, 1998
         Legal Entity Type: LIMITED PARTNERSHIP                               State or Country Where KENTUCKY
                                                                                          Organized:
 DBA, AKA, TA, Formerly: FORMERLY JACK DANIEL DISTILLERY, LEM
                         MOTLOW, PROP., INC.
                                                                        Assignee
                    Name: JACK DANIEL'S PROPERTIES, INC.
         Legal Entity Type: CORPORATION                                       State or Country Where DELAWARE
                                                                                          Organized:
                  Address: 4040 CIVIC CENTER DRIVE, SUITE 528
                           SAN RAFAEL, CALIFORNIA 94903
                                                                     Correspondent
    Correspondent Name: JACK DANIEL'S PROPERTIES, INC.
 Correspondent Address: DAVID S. GOODER, ESQ.
                        4040 CIVIC CENTER DRIVE
                        SUITE 528
                        SAN RAFAEL, CALIFORNIA 94903
                                                           Domestic Representative - Not Found

                                                                 Proceedings
  Summary
  Number of Proceedings: 3
                                                 Type of Proceeding: Opposition
     Proceeding Number: 91219139                                                         Filing Date: Oct 31, 2014
                   Status: Pending                                                      Status Date: Oct 31, 2014
   Interlocutory Attorney: ROBERT COGGINS
                                                                      Defendant
                    Name: Hotel Ambassador Nola, LLC
 Correspondent Address: SUSAN D PITCHFORD
                        CHERNOFF VILHAUER LLP
                        601 SW 2ND AVE, SUITE 1600
                        PORTLAND OR , 97204-3157
                        UNITED STATES
   Correspondent e-mail: sdp@chernofflaw.com , cschwend@chernofflaw.com
Associated marks
                                                                                                                      Serial     Registration
  Mark                                                          Application Status
                                                                                                                      Number     Number
OLD NO. 77 HOTEL & CHANDLERY                                 Opposition Pending                                      86185381
                                                                      Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
 Correspondent Address: CHRISTOPHER LARKIN
                        SEYFARTH SHAW LLP
                        2029 CENTURY PARK EAST, SUITE 3500
                        LOS ANGELES CA , 90067-3021
                        UNITED STATES
   Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                      Serial     Registration
  Mark                                                          Application Status
                                                                                                                      Number     Number
OLD NO. 7                                                    Renewed                                                 70042663   42663
OLD NO. 7 BRAND                                              Renewed                                                 75566592   2418109
                                                             Section 8 and 15 - Accepted and
OLD NO 7 BRAND                                                                                                       78541672   3363179


                                                                                                                                JDPI002367
           Case 2:14-cv-02057-SMM                          Document 224-10                   Filed 10/19/17               Page 7 of 113

                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427325     3505179
                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427454     3505181
                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427472     3596301
                                                              Acknowledged
                                                                  Prosecution History
    Entry
                    History Text                                                     Date                                 Due Date
    Number

1                FILED AND FEE                                                Oct 31, 2014
2                NOTICE AND TRIAL DATES SENT; ANSWER DUE:                     Oct 31, 2014                              Dec 10, 2014
3                PENDING, INSTITUTED                                          Oct 31, 2014
4                D MOT FOR EXT W/ CONSENT                                     Dec 09, 2014
5                EXTENSION OF TIME GRANTED                                    Dec 09, 2014
6                ANSWER                                                       Jan 09, 2015
7                TRIAL DATES REMAIN AS SET                                    Jan 14, 2015
8                PAPER RECEIVED AT TTAB                                       Jun 01, 2015
                                                           Type of Proceeding: Opposition
        Proceeding Number: 91213299                                                         Filing Date: Nov 04, 2013
                   Status: Pending                                                          Status Date: Nov 04, 2013
     Interlocutory Attorney: ELIZABETH WINTER
                                                                      Defendant
                    Name: Thomas Brian Bencivengo
    Correspondent Address: TERRENCE A OVED
                           OVED & OVED LLP
                           401 GREENWICH ST
                           NEW YORK NY , 10013-2326
                           UNITED STATES
     Correspondent e-mail: dyedid@ovedlaw.com , terry@ovedlaw.com , aaron@ovedlaw.com , darren@ovedlaw.com
Associated marks
                                                                                                                            Serial      Registration
    Mark                                                        Application Status
                                                                                                                            Number      Number
NO. 7                                                         Opposition Pending                                          85635478
                                                                      Plaintiff(s)
                    Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
     Correspondent e-mail: clarkin@seyfarth.com
Associated marks
                                                                                                                            Serial      Registration
    Mark                                                        Application Status
                                                                                                                            Number      Number
OLD NO. 7                                                     Renewed                                                     70042663     42663
OLD NO. 7 BRAND                                               Renewed                                                     75566592     2418109
                                                              Section 8 and 15 - Accepted and
OLD NO 7 BRAND                                                                                                            78541672     3363179
                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427325     3505179
                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427454     3505181
                                                              Acknowledged
                                                              Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                                 77427472     3596301
                                                              Acknowledged
                                                                  Prosecution History
    Entry
                    History Text                                                     Date                                 Due Date
    Number




                                                                                                                                       JDPI002368
           Case 2:14-cv-02057-SMM                           Document 224-10              Filed 10/19/17               Page 8 of 113

1                 FILED AND FEE                                                 Nov 04, 2013
2                 NOTICE AND TRIAL DATES SENT; ANSWER DUE:                      Nov 04, 2013                        Dec 14, 2013
3                 PENDING, INSTITUTED                                           Nov 04, 2013
4                 STIP FOR EXT                                                  Dec 16, 2013
5                 EXTENSION OF TIME GRANTED                                     Dec 16, 2013
6                 ANSWER                                                        Jan 14, 2014
7                 TRIAL DATES REMAIN AS SET                                     Jan 29, 2014
8                 STIP TO SUSP PEND SETTL NEGOTIATIONS                          Feb 14, 2014
9                 SUSPENDED                                                     Feb 14, 2014
10                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Apr 08, 2014
11                SUSPENDED                                                     Apr 08, 2014
12                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Jun 11, 2014
13                SUSPENDED                                                     Jun 11, 2014
14                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Sep 15, 2014
15                SUSPENDED                                                     Sep 15, 2014
16                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Oct 16, 2014
17                SUSPENDED                                                     Oct 16, 2014
18                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Nov 24, 2014
19                SUSPENDED                                                     Nov 24, 2014
20                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Jan 26, 2015
21                SUSPENDED                                                     Jan 26, 2015
22                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Feb 27, 2015
23                SUSPENDED                                                     Feb 27, 2015
24                STIP TO SUSP PEND SETTL NEGOTIATIONS                          Apr 30, 2015
25                SUSPENDED                                                     Apr 30, 2015
                                                            Type of Proceeding: Opposition
       Proceeding Number: 91194086                                                      Filing Date: Mar 10, 2010
                    Status: Terminated                                                  Status Date: Jun 22, 2010
     Interlocutory Attorney: CHERYL S GOODMAN
                                                                        Defendant
                     Name: SS Choice, LLC
    Correspondent Address: SS CHOICE, LLC
                           SS CHOICE, LLC
                           2711 CENTERVILLE RD , SUITE 400
                           WILMINGTON DE , 19808
                           UNITED STATES
      Correspondent e-mail: kyle@ecigaretteschoice.com
Associated marks
                                                                                                                        Serial      Registration
    Mark                                                         Application Status
                                                                                                                        Number      Number
NO7                                                            Abandoned - After Inter-Partes Decision                77766956
                                                                        Plaintiff(s)
                     Name: Jack Daniel's Properties, Inc.
    Correspondent Address: CHRISTOPHER C. LARKIN
                           SEYFARTH SHAW LLP
                           2029 CENTURY PARK EAST, SUITE 3500
                           LOS ANGELES CA , 90067-3021
                           UNITED STATES
      Correspondent e-mail: clarkin@seyfarth.com , kelko@seyfarth.com
Associated marks
                                                                                                                        Serial      Registration
    Mark                                                         Application Status
                                                                                                                        Number      Number
OLD NO. 7                                                      Renewed                                                70042663     42663
OLD NO. 7 BRAND                                                Renewed                                                75566592     2418109
                                                               Section 8 and 15 - Accepted and
OLD NO. 7                                                                                                             77427325     3505179


                                                                                                                                   JDPI002369
         Case 2:14-cv-02057-SMM              Document 224-10                  Filed 10/19/17   Page 9 of 113

                                                 Acknowledged
                                                 Section 8 and 15 - Accepted and
OLD NO 7 BRAND                                                                                 78541736   3366636
                                                 Acknowledged
                                                        Prosecution History
    Entry
                 History Text                                         Date                                  Due Date
    Number

1            FILED AND FEE                                         Mar 10, 2010
2            NOTICE AND TRIAL DATES SENT; ANSWER DUE:              Mar 10, 2010                           Apr 19, 2010
3            PENDING, INSTITUTED                                   Mar 10, 2010
4            NOTICE OF DEFAULT                                     May 05, 2010
5            BOARD'S DECISION: SUSTAINED                           Jun 22, 2010
6            TERMINATED                                            Jun 22, 2010




                                                                                                           JDPI002370
      Case 2:14-cv-02057-SMM                   Document 224-10              Filed 10/19/17           Page 10 of 113




From:              TMOfficialNotices@USPTO.GOV
Sent:              Wednesday, June 11, 2014 11:00 PM
To:                jdpilegal@jdpi.com
Subject:           Official USPTO Notice of Acceptance and Renewal Sections 8 and 9: U.S. Trademark RN 0042663: OLD
                   NO. 7 (Stylized/Design): Docket/Reference No. 594


Serial Number: 70042663
Registration Number: 0042663
Registration Date: May 24, 1904
Mark: OLD NO. 7 (Stylized/Design)
Owner: JACK DANIEL'S PROPERTIES, INC.




                                                        Jun 11, 2014

                              NOTICE OF ACCEPTANCE UNDER SECTION 8

The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the
Trademark Act, 15 U.S.C. §1058. The Section 8 declaration is accepted.



                     NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9

The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15
U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated
from the registration date, unless canceled by an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
049




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




           REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between
every 9th and 10th-year period, calculated from the registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of
an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE


                                                                                                                     JDPI002371
      Case 2:14-cv-02057-SMM                   Document 224-10              Filed 10/19/17         Page 11 of 113

REGISTRANT SHOULD CONTACT THE USPTO ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN
ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=70042663.
NOTE: This notice will only be available on-line the next business day after receipt of this e-mail.




                                                                                                                    JDPI002372
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PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)


        Combined Declaration of Use and/or Excusable
 Nonuse/Application for Renewal of Registration of a Mark under
                         Sections 8 & 9


                                     The table below presents the data as entered.

                             Input Field                                  Entered
         REGISTRATION NUMBER                        0042663
         REGISTRATION DATE                          05/24/1904
         SERIAL NUMBER                              70042663
         MARK SECTION
         MARK                                       OLD NO. 7 (stylized and/or with design)
         ATTORNEY SECTION (current)
         NAME                                       CHRISTOPHER C. LARKIN
         FIRM NAME                                  JACK DANIEL'S PROPERTIES INC
         STREET                                     4040 CIVIC CTR DR STE 528
         CITY                                       SAN RAFAEL
         STATE                                      California
         POSTAL CODE                                94903
         COUNTRY                                    United States
         PHONE                                      415 446 5225
         FAX                                        415 446 5230
         EMAIL                                      david_gooder@jdpi.com
         AUTHORIZED TO COMMUNICATE
         VIA E-MAIL
                                                    Yes

         ATTORNEY SECTION (proposed)
         NAME                                       David S. Gooder
         FIRM NAME                                  JACK DANIEL'S PROPERTIES INC
         STREET                                     4040 CIVIC CTR DR STE 528
         CITY                                       SAN RAFAEL

                                                                                                  JDPI002373
Case 2:14-cv-02057-SMM    Document 224-10      Filed 10/19/17   Page 13 of 113


STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225
FAX                          415 446 5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

DOCKET/REFERENCE NUMBER      594
CORRESPONDENCE SECTION (current)
NAME                         DAVID S GOODER
FIRM NAME                    JACK DANIEL'S PROPERTIES INC
STREET                       4040 CIVIC CTR DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225
FAX                          415 446 5230
EMAIL                        david_gooder@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

CORRESPONDENCE SECTION (proposed)
NAME                         David S. Gooder
FIRM NAME                    JACK DANIEL'S PROPERTIES INC
STREET                       4040 CIVIC CTR DR STE 528
CITY                         SAN RAFAEL
STATE                        California
POSTAL CODE                  94903
COUNTRY                      United States
PHONE                        415 446 5225


                                                                          JDPI002374
Case 2:14-cv-02057-SMM    Document 224-10       Filed 10/19/17      Page 14 of 113

FAX                          415 446 5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

DOCKET/REFERENCE NUMBER      594
GOODS AND/OR SERVICES SECTION
U.S. CLASS                   049
GOODS OR SERVICES            WHISKIES
                             \\TICRS\EXPORT16\IMAGEOUT
SPECIMEN FILE NAME(S)
                             16\700\426\70042663\xml1\ S890002.JPG

                             Digital image of a bottle of the product with the label
SPECIMEN DESCRIPTION
                             and necker affixed clearly showing the mark
OWNER SECTION (current)
NAME                         JACK DANIEL'S PROPERTIES, INC.
STREET                       4040 CIVIC CENTER DRIVE
CITY                         SAN RAFAEL
STATE                        California
ZIP/POSTAL CODE              94903
COUNTRY                      United States
OWNER SECTION (proposed)
NAME                         JACK DANIEL'S PROPERTIES, INC.
STREET                       4040 CIVIC CENTER DRIVE, SUITE 528
CITY                         SAN RAFAEL
STATE                        California
ZIP/POSTAL CODE              94903
COUNTRY                      United States
PHONE                        415-446-5225
FAX                          415-446-5230
EMAIL                        jdpilegal@jdpi.com
AUTHORIZED TO COMMUNICATE
VIA E-MAIL
                             Yes

LEGAL ENTITY SECTION (current)
TYPE

                                                                                  JDPI002375
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TYPE                          corporation
STATE/COUNTRY OF
INCORPORATION
                              Delaware

PAYMENT SECTION
NUMBER OF CLASSES             1
NUMBER OF CLASSES PAID        1
SUBTOTAL AMOUNT               500
TOTAL FEE PAID                500
SIGNATURE SECTION
SIGNATURE                     //David S. Gooder//
SIGNATORY'S NAME              David S. Gooder
SIGNATORY'S POSITION          Chief Trademark Counsel
DATE SIGNED                   05/21/2014
SIGNATORY'S PHONE NUMBER      415-446-5225
PAYMENT METHOD                DA
                           FILING INFORMATION
SUBMIT DATE                   Wed May 21 12:23:34 EDT 2014
                              USPTO/S08N09-38.88.175.58
                              -20140521122334721243-004
                              2663-5001680b8abb4c355f34
TEAS STAMP
                              d3d6f8251d8c7eec2c95fe6ad
                              d0b9b95fe487f051f6-DA-923
                              1-20140521121227634425




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PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 09/30/2014)




Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                  Registration of a Mark under Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 0042663
REGISTRATION DATE: 05/24/1904

MARK: (Stylized and/or with Design, OLD NO. 7)

The owner, JACK DANIEL'S PROPERTIES, INC., a corporation of Delaware, having an address of
     4040 CIVIC CENTER DRIVE, SUITE 528
     SAN RAFAEL, California 94903
     United States
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
Registration of a Mark under Sections 8 & 9.

For U.S. Class 049, the mark is in use in commerce on or in connection with all goods or services listed in
the existing registration for this specific class: WHISKIES ; or, the owner is making the listed excusable
nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in
connection with any item in this class, consisting of a(n) Digital image of a bottle of the product with the
label and necker affixed clearly showing the mark.
Specimen File1
The registrant's current Attorney Information: CHRISTOPHER C. LARKIN of JACK DANIEL'S
PROPERTIES INC
    4040 CIVIC CTR DR STE 528
    SAN RAFAEL, California (CA) 94903
    United States


The registrant's proposed Attorney Information: David S. Gooder of JACK DANIEL'S PROPERTIES
INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States
The docket/reference number is 594.


The phone number is 415 446 5225.

The fax number is 415 446 5230.

The email address is jdpilegal@jdpi.com.


                                                                                                   JDPI002377
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The registrant's current Correspondence Information: DAVID S GOODER of JACK DANIEL'S
PROPERTIES INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States


The registrant's proposed Correspondence Information: David S. Gooder of JACK DANIEL'S
PROPERTIES INC
   4040 CIVIC CTR DR STE 528
   SAN RAFAEL, California (CA) 94903
   United States
The docket/reference number is 594.


The phone number is 415 446 5225.

The fax number is 415 446 5230.

The email address is jdpilegal@jdpi.com.

A fee payment in the amount of $500 will be submitted with the form, representing payment for 1
class(es), plus any additional grace period fee, if necessary.

                                               Declaration


Section 8: Declaration of Use and/or Excusable Nonuse in Commerce
Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in
connection with the goods/services identified above, as evidenced by the attached specimen(s) showing the
mark as used in commerce.


The signatory being warned that willful false statements and the like are punishable by fine or
imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like
may jeopardize the validity of this submission, declares that all statements made of his/her own knowledge
are true and all statements made on information and belief are believed to be true.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods/services identified above.


Signature: //David S. Gooder//    Date: 05/21/2014
Signatory's Name: David S. Gooder
Signatory's Position: Chief Trademark Counsel
Signatory's Phone Number: 415-446-5225

Mailing Address (current):
 JACK DANIEL'S PROPERTIES INC
 4040 CIVIC CTR DR STE 528

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 SAN RAFAEL, California 94903

Mailing Address (proposed):
 JACK DANIEL'S PROPERTIES INC
 4040 CIVIC CTR DR STE 528
 SAN RAFAEL, California 94903

Serial Number: 70042663
Internet Transmission Date: Wed May 21 12:23:34 EDT 2014
TEAS Stamp: USPTO/S08N09-38.88.175.58-20140521122334
721243-0042663-5001680b8abb4c355f34d3d6f
8251d8c7eec2c95fe6add0b9b95fe487f051f6-D
A-9231-20140521121227634425




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